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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:
                                                            Chapter 11
                                         1
DEAN FOODS COMPANY, et al.,
                                                            Case No. 19-36314 (DRJ)
                                                Debtors.
                                                            (Jointly Administered)



Daniel H. Golden, as Liquidating Trustee of the
DFC Liquidating Trust,

                                             Plaintiff,

vs.                                                         Adv. No. 21-03067

Kellogg Sales Company,
                                             Defendant.

                         NOTICE OF FINAL PRETRIAL CONFERENCE

         PLEASE TAKE NOTICE that, in accordance with Federal Rule of Civil Procedure 16(e),

made applicable by Federal Bankruptcy Rule 7016, and the Order Establishing Procedures

Governing Certain Adversary Proceedings Commenced by the Debtors Pursuant to 11 U.S.C. §§

547, 548, 549, and 550 (the “Procedures Order”) [Case No. 19-36313, Docket No. 3646], a Final

Pretrial Conference in the above-captioned adversary proceeding has been scheduled to take place

on Tuesday, September 19, 2023 at 1:30 p.m. (Prevailing Central Time) before the Honorable

David R. Jones, United States Bankruptcy Judge.




1
 The debtors or liquidating debtors in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Dean Foods Company (9681) and Dean Holding Company (8390).
The liquidating debtors’ mailing address is: Daniel H. Golden, Trustee, Dean Foods Company Estate & Liquidating
Trust, In Care of BRG, 250 Pehle Avenue, Suite 301, Saddle Brook, NJ 07663, Attn: Rick Wright.
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       PLEASE TAKE FURTHER NOTICE that the Final Pretrial Conference will be

conducted at the United States Courthouse, Courtroom 400, 515 Rusk Avenue, Houston, Texas

77002. You may participate in person or electronically by an audio or visual connection. Audio

communication will be by use of the Court’s dial-in facility. You may access the facility by calling

832-917-1510 and entering the conference code (205691). Video communication will be by use

of the GoToMeeting platform. You may connect via the free GoToMeeting application or by

clicking the link (https://gotomeet.me/JudgeJones) on Judge Jones’ homepage on the Southern

District of Texas website. The meeting code is “JudgeJones.” Click the settings icon in the upper-

righthand corner and enter your name under the personal information setting.

       PLEASE TAKE FURTHER NOTICE that electronic appearances must be made in

advance of the Hearing. To make your appearance, click the “Electronic Appearance” link

(https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-david-r-jones) on Judge

Jones’ homepage. Then, select the case name, complete the required fields, and click “Submit” to

complete your appearance.

       PLEASE TAKE FURTHER NOTICE that copies of the filings in these chapter 11 cases

can be obtained through the Bankruptcy Court’s electronic case filing system at

https://ecf.txsb.uscourts.gov or can be obtained free of charge on the website maintained by the

claims and noticing agent at https://dm.epiq11.com/case/southernfoods/info.

                                    [Signature Page Follows]




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Dated: August 1, 2023

                                   ASK LLP

                               By: /s/ Nicholas C. Brown
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                                   Counsel to the Liquidating Trustee




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                                   Certificate of Service

       I certify that on August 1, 2023, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                      /s/ Nicholas C. Brown
                                                      Nicholas C. Brown




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